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                EXHIBIT 2
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                                        1751 PINNACLE DRIVE
                                              SUITE 900
                                          TYSONS, VA 22102
                                           (202) 331-8160
                                         (202) 505-7100 Fax

                                       December 10, 2021

Kate Barton
VIA Email only
kateh.barton@gmail.com

      Re: Grassroots Analytics, LLC

Ms. Barton:

        This Firm represents Grassroots Analytics, LLC (“Grassroots”). We are very concerned
that, after your separation from Grassroots, you accessed confidential Grassroots files and data
without authorization (and/or in excess of your authorization), copied confidential Grassroots files
and data without authorization, emailed confidential Grassroots files and data to your personal
email address without authorization, and then offered to sell and or share those confidential
Grassroots files and data with others (including Grassroots’ direct competitors) – again, without
authorization. We have substantial documentary evidence of your malfeasance, including your
texts and emails.

       Your actions violate your contractual obligations to Grassroots and likely give rise to civil
and criminal liability under, inter alia, the Defend Trade Secrets Act, 18 U.S.C. § 1832 et seq. and
the Computer Fraud and Abuse Act, 18 U.S.C § 1030.

       Any materials and/or data, including any copies made, taken from Grassroots must be
returned immediately. Additionally, if this information has been shared with any third parties,
including, but not limited to: Eric Coats, Ben Bobo, Eden Mckissick-Hawley, True Blue Analytics,
and/or Tall Poppy Fundraising, we demand that you immediately identify those entities and/or
individuals. If these materials and/or data are not returned to Grassroots by 9:00 A.M. on December
13, 2021, we will assume the worst about your intentions and will proceed accordingly.

        Grassroots jealously guards its data and information. We will pursue all legal options to
prevent the theft or unauthorized sharing of our data and information. To prevent any further
escalation of this situation, I urge you to immediately respond to this demand, and return
Grassroots’ materials and data forthwith.

                                                              Thank you,




                                                              Daniel Ward
